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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS

 JOHN DOE,
                Plaintiff
         v.                                       Civil Action No: 1:19-cv-11626-DPW

 TRUSTEES OF BOSTON COLLEGE,
                Defendant

                  NOTICE OF APPEAL OF PRELIMINARY INJUNCTION

        PLEASE TAKE NOTICE that Defendant Trustees of Boston College appeals to the

United States Court of Appeals for the First Circuit from this Court’s Order of Preliminary

Injunction dated August 20, 2019 and docketed on August 22, 2019 (ECF No. 35). The appeal is

brought pursuant to 28 U.S.C. § 1292(a)(1).

                                              TRUSTEES OF BOSTON COLLEGE,

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                                     Certificate of Service

                 This document was served electronically upon all counsel of record by
        filing through the ECF system on August 28, 2019.

                                              /s/ Elizabeth H. Kelly
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